 

Case 1:07-cv-22090-JLK Document 1 Entered on FLSD Docket 08/14/2007 Page 1 of 6

‘IVIL COVER SHEET &

The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleading or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for
the use of the Clerk of Court for the ) 7 = initiating the civil docket sheet. ae INSTRUCTIONS ON THE REVERSE OF THE FORM.)

6) & at) oO OY DEFENDANTS

Gustavo B. Sampaio C iy ae rE via GMAGIS WUE pee” Service, Inc.
CARBER

I(a) PLAINTIFFS

(b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF
(EXCEPT IN U.S. PLAINTIFF CASES) DADE

COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT “i

(IN U.S. PLAINTIFF CASES ONLY)= ms

 
 

 

 

 

 

 

. / ; & NOTE: IN LAND CONDEMNATION CASES, USB THE LOCATION
LOMCVvad0d0 | King | Gre weye OF THE TRACT OF LAND INVOpYED ©
(c) ATTORNEYS (FIRM NAME, ADDRESf, AND TELEPHONE NUMBER) ATTORNEYS (IF KNOWN) S a aD *
DONALD A. YARBROUGH, ESQ. POST OFFICE BOX 11842 _ L—
ForT LAUDERDALE, FL 33339, TELEPHONE (954) 537-2000 vee 9205 <<
(a) eee COUNTY WHERE ACTION AROSE: Pee 7G
ONROE, BROWARD, PALM BEACH, MARTIN, ST. LUCIE, INDIAN RIVER, OKEECHOBEE, HIGHLANDS —
Il. “BASIS OF JURISDICTION TI. CITIZENSHIP OF PRINCIPAL PARTIES ° ~ * t. = -
(PLACE AN X IN ONE BOX ONLY) (For Diversity Case Only) PTF DEF AcE AN X IN ONE BOX FOR
PLAINTIFF AND ONE BOX FOR DEFENDANT PTF
DEF
[1 1. Us. Government [EX] 3. Federal Question (U.S, | Citizen of This State oO 1 O 1 Incorporation and Principal Place of | D1
Plaintiff Government Not a Party) Business in This State
Citizen of Another State oO 2 oO 2 Incorporation and Principal Place of 2 2
Business in Another State
C] 2. U.S. Government oO 4. Diversity (Indicate Citizenship
Defendant of Parties in Item III) Citizen or Subject of a Foreign Country oO oO Foreign Nation oO oO
3 3 3 3

 

 

IV. CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE. DO NOT CITE °

JURISDICTIONAL STATUTES UNLESS DIVERSITY.)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

IVa. 1-2__ days estimated (for both sides) to try entire case 15 U.S.C. §1692 et. Seq. Violations of Fair Debt Collection Practices Act
NATURE OF SUIT (PLACE AN X IN ONE BOX ONLY) ,
A CONTRACT A TORTS B FORFEITURE A BANKRUPTCY | A OTHER STATUS
PENALTY
O 110 Insurance PERSONAL INJURY O 610 Agriculture 01 422 Appeal 28 USC 158 1 400 States Reappointment
O 120 Marine © 310 Airplane O 362 Pers, Injury-Med Malpractice O = 620 Other Food & Dmg 0 423 Withdrawal 28 USC 157 Q 410 Antitrust
OF 130° Miller Act CO 315 Airplane Product Liability C1 365 Persona! Injury-Prod. Liability O 625 Drug Related Seizure of Property 2! A PROPERTY RIGHTS O 430 Banks and Banking
Oo 140 Negotiable Instrument USC 881
© 150 Recovery of Overpayment & © 320 Assault, Libel & Slander C1 368 Asbestos Personnel Injury 0) 630 Liquor Laws C820 Copyrights 1 450 Commerce/ICC Rates/etc. B
Enforcement of Judgment Product Liabitity
O 151 Medicare Act 0 330 Federal Employers’ Liability PERSONAL PROPERTY O 640 RR. & Truck O 830 Patent 460 Deportation
i 152 Recovery of Defaulted Student O 340 Marine OO 370 Other Fraud O 650 Airline Regs DD 840 Trademark O 470 Racketeer Influenced and
Loans (excl Veterans) B Cormupt Organizations
O 153 Recovery of Overpayment of TJ 345 Marine Product Liability O 371 Truth in Lending B 1 = 660 Occupational Safety/Heatth B SOCIAL SECURITY C1 810 Selective Service
Veteran's Benefits B
O 160 Stockholder’ Suits OC) 350 Motor Vehicle OF 380 Other Personne! Property O 690 Other OF 861 HIA (1395f) D1 850 Securities ‘Commodities
Damage fExchange
© 190 Other Contract 355 Motor Vehicle Product Liability © 385 Property Damage Product A LABOR O 862 Black Lung (923) O 875 Customer Challenge 12 USC
Liability 3410
195 Contract Product Liability 01 360 Other Personal Injury a O 710 Fair Labor Standards Act 0 863 DIWC/DIWW (405(g)) E891 Agricultural Acts
A REAL PROPERTY A CIVIL RIGHTS B PRISONER PETITIONS = 720 Labor Management Relations B O 864 SSID Title XVI O 892 Economic Stabilization Act
O 210 Land Condemnation O 441 Voting 0 510 Motions to Vacate Sentence (1 730Labor Management Reporting & DD 865 RSI (405(g)) 0 893 Environmental Matters
Habeas Corpus Disclosure Act
DO 220 Forectosure B D 442 Employment O 530 General* O = 740 Railway Labor Act A FEDERAL TAX SUITS O 894 Energy Allocation Act
O 230 Rent Lease & Ejectment D 443 Housing/Accommodations 1 535 Death Penalty 1 = 790 Other Labor Litigation OF 870Taxes (U.S. Plaintiff or (1 895 Freedom of Information Act
Defendant)
11 240 Torts to Land O 444 Welfare O 540 Mandamus & Other* O 791 Employee Ret. Inc. Security Aci B CG 871 IRS-Third Party 26b USC 7609 (C1 900 Appeal of Fee Determination
under Equal Access to Justice
G 245 Tort Product Liability 8 440 Other Civil Rights O 550 Civil Rights 1 950 Constitutionality of State
*AorB \ Statutes
O 290 All Other Real Property U 890 Other Statutory Actions*
*A orB
VI. ORIGIN (PLACE AN X IN ONE BOX ONLY)
ginal Proceeding O12 Removed from State Court O 3. Remanded from Appellate O 4 Refiled O 6 = Multidistrict Litigation O 7. Appeal to District Judge from
Court O_5. Transferred from another district (specify) Magistrate Judgment
VIE REQUESTED IN Os IF THIS IS A CLASS ACTION No DEMAND s wa o coabaint only if demanded in I=
COMPLAINT DUPER ER CE 2S JURY DEMAND:
VIL. RELATED ASE) Ay fag napctions): JUDGE DOCKET NUMBER
ANY

 

DATE: August OTT OF ATTORNEY OF RECORD

aac G

 

PLN EHOTE \
UNITED STATES Vain FOR OFFICE USE ONLY: Receipt No AML Amount: 207
S/F 1-2 Date Paid: M/ifp:
REV. 9/94

 

 

FTL/LINP/266449/5pld01!. DOC/8/13/07/26094.010400
 

Case 1:07-cv-22090-JLK Document 1 Entered on FLSD Docket 08/14/2007 Page 2 of 6
‘ew ed

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

 

 
  
  

CASE NO.
GUSTAVO B. SAMPAIO, | ——
O07 -22.099
Plaintiff, -
] MAGISTRATE JUDGE 7
v. CIV-KING GARBER
ACADEMY COLLECTION /
SERVICE, INC. n
Defendant. a 7 c <<
/ mi _ i
JURY DEMAND ro A]

1. Plaintiff alleges violation of the Fair Debt Collection Practices Act, 15

U.S.C. §1692 et seg. (“FDCPA”).
JURISDICTION AND VENUE

2. This Court has jurisdiction under 28 U.S.C. §§1331, 1337 and 15
U.S.C. §1692k. Venue in this District is proper because Plaintiff resides here and
Defendant placed telephone calls into this District.

PARTIES
3. Plaintiff, GUSTAVO B. SAMPAIO, is a natural person who resides

in Miami-Dade County, Florida.
Case 1:07-cv-22090-JLK Document 1 Entered on FLSD Docket 08/14/2007 Page 3 of 6

wy wi

4. Defendant, ACADEMY COLLECTION SERVICE, INC., is believed
to be a corporation with its principal place of business at 10965 Decatur Road,
Philadelphia, Pennsylvania 19154.

5. Defendant regularly uses the mails and telephone in a business the
principal purpose of which is the collection of debts.

6. Defendant regularly collects or attempts to collect debts for other
parties. It is a “debt collector” as defined in the FDCPA.

FACTUAL ALLEGATIONS

7. Defendant sought to collect from Plaintiff an alleged debt arising from
a credit card used by Plaintiff for personal purposes.

8. Defendant left the following messages on Plaintiff's voice mail on or
about the dates stated:

July 30, 2007
Yes. This message is for Gustavo. It is essential that you return you

return this call to Jerry Cornell. The office number is 1-800-220-0605.
My direct extension is 2687. Thank you.

August 9, 2007

Yes. This message is for Gustavo Sampaio. Gustavo I need you to
return this phone call when you do receive this message. This is Bill
Valentine. Gustavo my office number is toll free 1-800-220-0605,
extension 2677. Please give me a call Gustavo when you do receive
this message. I need to hear from you today. Thank you.
Case 1:07-cv-22090-JLK Document 1 Entered on FLSD Docket 08/14/2007 Page 4 of 6

‘ew wi)

9. Based upon information and belief, Defendant left similar or identical
messages on other occasions within one year of the filing of this complaint.
(collectively, “the messages”’).

10. The messages are “communications” as defined in 15 U.S.C.
§1692a(2).

11. Defendant failed to inform Plaintiff in the messages that the
communication was from a debt collector, failed to disclose the purpose of
Defendant’s messages, and created a false sense of urgency.

COUNT I
FAILURE TO DISCLOSE STATUS AS DEBT COLLECTOR

12. Plaintiff incorporates Paragraphs 1 through 11.

13. Defendant failed to disclose in the messages that it is a debt collector
in violation of 15 U.S.C. §1692e(11). See Foti v. NCO Fin. Sys., 424 F. Supp. 2d
643, 646 (D.N.Y. 2006) and Belin v. Litton Loan Servicing, 2006 U.S. Dist. LEXIS
47953 (M. D. Fla. 2006) and Leyse v. Corporate Collection Servs., 2006 U.S. Dist.
LEXIS 67719 (D.N.Y. 2006).

WHEREFORE, Plaintiff requests that the Court enter judgment in favor of
Plaintiff and against Defendant for:

a. Damages;
b. Attorney’s fees, litigation expenses and costs of suit; and

c. Such other or further relief as the Court deems proper.
Case 1:07-cv-22090-JLK Document 1 Entered on FLSD Docket 08/14/2007 Page 5 of 6

‘wr wi)

COUNT I
FAILURE TO MAKE MEANINGFUL DISCLOSURE OF IDENTITY

14. Plaintiff incorporates Paragraphs | through 11.

15. Defendant placed telephone calls to Plaintiff without making
meaningful disclosure of its identity when it failed to disclose the purpose of
Defendant’s communication in the telephone messages in violation of 15 U.S.C
§1692d(6). See Wright v. Credit Bureau of Georgia, Inc., 548 F. Supp. 591, 593
(D. Ga. 1982); and Hosseinzadeh v. M.R.S. Assocs., 387 F. Supp. 2d 1104 (D. Cal.
2005).

WHEREFORE, Plaintiff requests that the Court enter judgment in favor of
Plaintiff and against Defendant for:

a. Damages;
b. Attorney’s fees, litigation expenses and costs of suit; and
C. Such other or further relief as the Court deems proper.

COUNT I
CREATION OF A FALSE SENSE OF URGENCY

16. Plaintiff incorporates Paragraphs | through 11.

17. Inthe August 9, 2007 message, Defendant created a false sense of
urgency in violation of 15 U.S.C §1692e.

WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

Plaintiff and against Defendant for:
Case 1:07-cv-22090-JLK Document 1 Entered on FLSD Docket 08/14/2007 Page 6 of 6

wy
a. Damages.
b. Attorney’s fees, litigation expenses and costs of suit; and

C. Such other or further relief as the Court deems proper.
JURY DEMAND
Plaintiff demands trial by jury.

Dated this _/ g day of August, 2007.

DONALD A. YARBROUGH, ESQ.
Attorney for Plaintiff

Post Office Box 11842

Ft. Lauderdale, FL 33339
Telephone: 954-537-2000
Facsimile: 954-566-2235
donyarbrough@mindspring.com

Li,

otk / Yarbrough, Esq.
Florida Bar (var 0158658
